Case 2:03-cr-20083-STA Document 119 Filed 08/24/05 Page 1 of 2 Page|D 129

IN THE UNITED STATES DISTRICT COURT

  

FoR THE WESTERN DISTRICT oF TENNESSEE F"-ED B"' -~-~--» D~C-
wristan DIVISION
05 AUG 214 Pl“l l2= l5
UNITED sTATES oF AMERlCA THOW§ tt GOULD
CLEHK, US. l}?-‘ETFiCT COUFiT
v. Cr. No. 03-20033-13 WD tit .A...§-§rtPHIS

MARLO PRIDE
ORDER FINDING MOTION TO BE DECLARED INDIGENT
FOR PURPOSES OF APPEAL MOOT
On August 4, 2005, the defendant filed a motion to be declared indigent for appeal purposes lt
appearing to the court that the Court ot`AppealS for the Sixth Circuit Subsequently dismissed the defendants
appeal t`or want ofprosecution, it is ORDERED that the defendants motion to be declared indigent t`or appeal

purposes is DENIED AS MOOT.

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S. THOMAS ANDERSON
UNITED STATES MAGTSTRATE JUDGE

DATE: August 23, 2005

This document entered on the docket sheet in compliance

With Rule 55 and/or 32(b) FRCrP on g ' .Q_ S-/

 

 

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This notice confirms a copy of the document docketed as number 119 in
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Honorable J. Breen
US DISTRICT COURT

